                              Nos. 23-1509, -1553

                                       IN THE
 United States Court of Appeals for the Federal Circuit
                                 ALIVECOR, INC.,
                                                                            Appellant,
                                          v.
                   INTERNATIONAL TRADE COMMISSION,
                                                                              Appellee,
                                    APPLE INC.,
                                                                            Intervenor.
               ----------------------------------------------------------
                                    APPLE INC.,
                                                                            Appellant,
                                          v.
                   INTERNATIONAL TRADE COMMISSION,
                                                                              Appellee,
                                 ALIVECOR, INC.,
                                                                            Intervenor.

JOINT MOTION TO CLARIFY ORAL ARGUMENT PROCEDURE

     Appellee United States International Trade Commission;

AliveCor, Inc. (Appellant in Appeal No. 23-1509, Intervenor in Appeal

No. 23-1553); and Apple Inc. (Intervenor in Appeal No. 23-1509,

Appellant in Appeal No. 23-1553) hereby move to clarify the procedure

for the oral argument in the above-captioned consolidated appeals

scheduled for July 12, 2024 (Courtroom 402).
     As the Court is aware, in these consolidated appeals, there were

five rounds of briefs. The parties seek clarification on whether the

Court would prefer to conduct the argument in five rounds (tracking the

ordering of the briefs) or whether the Court would prefer to conduct

argument for the two appeals separately back-to-back, as though

companion appeals for the purposes of oral argument. In consolidated

appeals involving five rounds of briefs, the parties typically file a

motion such as the present motion to clarify the merits panel’s

preference for oral argument.

     The parties submit that, in the present case, oral argument would

best proceed in five rounds of argument, commensurate with the

briefing. Doing so will provide the Court and the parties with greater

freedom to discuss the relationship between the appeal and cross-

appeal. Conducting fewer separate rounds of argument will also

streamline the Court’s consideration of these appeals in connection with

the issues presented in the related, consolidated appeals from the

Patent Trial and Appeal Board (Appeal Nos. 23-1512, -1513, -1514),

which have been coordinated with these appeals and will be argued

immediately after.



                                     2
     This approach has been adopted in numerous cases. For example,

in The Chamberlain Group, LLC v. ITC, which involved five rounds of

briefs, the Court ordered five rounds of argument, with fifteen total

minutes per party. See The Chamberlain Group, LLC v. ITC, Appeal

No. 22-1664, Order at 2 (Fed. Cir. Mar. 28, 2023 (Dkt. No. 87) (Ex. A);

see also Mahindra & Mahindra Ltd. v. ITC, Appeal No. 20-2173, Order

at 2 (Fed. Cir. Feb. 16, 2022) (Dkt. No. 87) (Ex. B); Bio-Rad Labs., Inc.

v. ITC, Appeal No. 20-1475, Order at 2 (Fed. Cir. Mar. 8, 2021) (Dkt.

No. 70) (Ex. C). In another case, the Court likewise ordered five rounds

of argument, but with fifteen total minutes per private party and ten

minutes for the Commission. See Kyocera Senco Indus. Tools Inc. v.

ITC, Appeal No. 20-1046, Order at 2 (Fed. Cir. Oct. 7, 2021) (Dkt. No.

81) (Ex. D).

     Should the Court also order five rounds of argument here, the

parties request that AliveCor and Apple each be provided with fifteen

minutes to allocate between their opening and rebuttal arguments, and

that the Commission as appellee be provided with fifteen minutes of

undivided argument time. Doing so would be consistent with the

Court’s orders in Chamberlain, Mahindra, and Bio-Rad and with the



                                     3
Court’s May 21, 2024, Notice of Oral Argument in the present appeal

(Dkt. No. 117) (stating that “[e]ach side receives 15 minutes (including

rebuttal), unless otherwise directed by the court” and that “Appellants

and Cross-Appellants may divide argument between main argument

and rebuttal. Appellees may not.”).

     For the foregoing reasons, the parties respectfully request that the

Court clarify the procedure for oral argument in the present

consolidated appeals.




                                      4
Respectfully submitted,               Respectfully submitted,

/s/Sean S. Pak                   *    /s/ Melanie L. Bostwick
Sean S. Pak                           Melanie L. Bostwick
QUINN EMANUEL URQUHART                ORRICK, HERRINGTON &
  & SULLIVAN, LLP                       SUTCLIFFE LLP
50 California Street, 22nd Floor      1152 15th Street, NW
San Francisco, CA 94111               Washington, DC 20005
(415) 875-6600                        (202) 339-8400

Counsel for AliveCor, Inc.            Counsel for Apple Inc.

Respectfully submitted,

/s/Panyin A. Hughes               *
Panyin A. Hughes
Attorney Advisor
Office of the General Counsel
U.S. INTERNATIONAL TRADE
  COMMISSION
500 E Street SW, Suite 707
Washington, DC 20436
(202) 205-3042

Counsel for International Trade
Commission

*Counsel consents to the use of their electronic signature herein.

May 31, 2024




                                      5
FORM 9. Certificate of Interest                                               Form 9 (p. 1)
                                                                               March 2023


                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT

                                  CERTIFICATE OF INTEREST

            Case Number 23-1509, -1553
   Short Case Caption AliveCor, Inc. v. International Trade Commission
   Filing Party/Entity Apple Inc.



 Instructions:

     1. Complete each section of the form and select none or N/A if appropriate.

     2. Please enter only one item per box; attach additional pages as needed, and
        check the box to indicate such pages are attached.

     3. In answering Sections 2 and 3, be specific as to which represented entities
        the answers apply; lack of specificity may result in non-compliance.

     4. Please do not duplicate entries within Section 5.

     5. Counsel must file an amended Certificate of Interest within seven days after
        any information on this form changes. Fed. Cir. R. 47.4(c).


  I certify the following information and any attached sheets are accurate and
  complete to the best of my knowledge.


        05/31/2024
  Date: _________________                  Signature:   /s/ Melanie L. Bostwick

                                           Name:        Melanie L. Bostwick
FORM 9. Certificate of Interest                                                         Form 9 (p. 2)
                                                                                         March 2023


     1. Represented                       2. Real Party in            3. Parent Corporations
         Entities.                            Interest.                  and Stockholders.
   Fed. Cir. R. 47.4(a)(1).             Fed. Cir. R. 47.4(a)(2).        Fed. Cir. R. 47.4(a)(3).
 Provide the full names of            Provide the full names of       Provide the full names of
 all entities represented by          all real parties in interest    all parent corporations for
 undersigned counsel in               for the entities. Do not list   the entities and all
 this case.                           the real parties if they are    publicly held companies
                                      the same as the entities.       that own 10% or more
                                                                      stock in the entities.

                                      ‫܆‬
                                      ✔ None/Not Applicable           ‫܆‬
                                                                      ✔ None/Not Applicable




Apple Inc.




                                  ‫܆‬      Additional pages attached
FORM 9. Certificate of Interest                                              Form 9 (p. 3)
                                                                              March 2023


 4. Legal Representatives. List all law firms, partners, and associates that (a)
 appeared for the entities in the originating court or agency or (b) are expected to
 appear in this court for the entities. Do not include those who have already entered
 an appearance in this court. Fed. Cir. R. 47.4(a)(4).
 ‫܆‬        None/Not Applicable            ‫܆‬
                                         ✔     Additional pages attached




 5. Related Cases. Other than the originating case(s) for this case, are there
 related or prior cases that meet the criteria under Fed. Cir. R. 47.5(a)?
 ‫ ܆‬Yes (file separate notice; see below) ‫ ܆‬No
  ✔
                                                      ‫ ܆‬N/A (amicus/movant)
 If yes, concurrently file a separate Notice of Related Case Information that complies
 with Fed. Cir. R. 47.5(b). Please do not duplicate information. This separate
 Notice must only be filed with the first Certificate of Interest or, subsequently, if
 information changes during the pendency of the appeal. Fed. Cir. R. 47.5(b).


 6. Organizational Victims and Bankruptcy Cases. Provide any information
 required under Fed. R. App. P. 26.1(b) (organizational victims in criminal cases)
 and 26.1(c) (bankruptcy case debtors and trustees). Fed. Cir. R. 47.4(a)(6).
 ‫܆‬
 ✔        None/Not Applicable            ‫܆‬     Additional pages attached
                              Attachment

4.Legal Representatives. List all law firms, partners, and associates
that (a) appeared for the entities in the originating court or agency or
(b)are expected to appear in this court for the entities. Do not include
those who have already entered an appearance in this court. Fed. Cir.
R.47.4(a)(4).

Orrick, Herrington & Sutcliffe LLP: Jordan L. Coyle; Cesar-Lopez
Morales; Sheila Baynes; Bas de Blank

Fish & Richardson P.C.: Joseph V. Colaianni Jr.; Katherine H. Reardon;
Thomas S. Fusco; Raisa Ahmad; Qiuyi Wu

Covington & Burling LLP: Shara L. Aranoff; Alexander D. Chinoy;
Brian R. Nester; Amy Bond
FORM 9. Certificate of Interest                                            Form 9 (p. 1)
                                                                            March 2023


                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT

                                  CERTIFICATE OF INTEREST

            Case Number 23-1509, -1553
   Short Case Caption AliveCor, Inc. v. International Trade Commission
   Filing Party/Entity AliveCor, Inc.



 Instructions:

     1. Complete each section of the form and select none or N/A if appropriate.

     2. Please enter only one item per box; attach additional pages as needed, and
        check the box to indicate such pages are attached.

     3. In answering Sections 2 and 3, be specific as to which represented entities
        the answers apply; lack of specificity may result in non-compliance.

     4. Please do not duplicate entries within Section 5.

     5. Counsel must file an amended Certificate of Interest within seven days after
        any information on this form changes. Fed. Cir. R. 47.4(c).


  I certify the following information and any attached sheets are accurate and
  complete to the best of my knowledge.


        05/31/2024
  Date: _________________                  Signature:   /s/ Sean S. Pak

                                           Name:        Sean S. Pak
FORM 9. Certificate of Interest                                                         Form 9 (p. 2)
                                                                                         March 2023


     1. Represented                       2. Real Party in            3. Parent Corporations
         Entities.                            Interest.                  and Stockholders.
   Fed. Cir. R. 47.4(a)(1).             Fed. Cir. R. 47.4(a)(2).        Fed. Cir. R. 47.4(a)(3).
 Provide the full names of            Provide the full names of       Provide the full names of
 all entities represented by          all real parties in interest    all parent corporations for
 undersigned counsel in               for the entities. Do not list   the entities and all
 this case.                           the real parties if they are    publicly held companies
                                      the same as the entities.       that own 10% or more
                                                                      stock in the entities.

                                      ‫܆‬
                                      ✔ None/Not Applicable           ‫ ܆‬None/Not Applicable

AliveCor, Inc.                                                        OMROM Corp.




                                  ‫܆‬      Additional pages attached
FORM 9. Certificate of Interest                                                Form 9 (p. 3)
                                                                                March 2023


 4. Legal Representatives. List all law firms, partners, and associates that (a)
 appeared for the entities in the originating court or agency or (b) are expected to
 appear in this court for the entities. Do not include those who have already entered
 an appearance in this court. Fed. Cir. R. 47.4(a)(4).
 ‫܆‬        None/Not Applicable               ‫܆‬
                                            ✔      Additional pages attached
Quinn Emanuel Urquhart
                                  S. Alex Lasher            Andrew Holmes
& Sullivan, LLP

Adam B. Wolfson                   Phillip Ducker            Peter Benson

Brian Saunders                    Catherine R. Lacey        John W. McCauley


 5. Related Cases. Other than the originating case(s) for this case, are there
 related or prior cases that meet the criteria under Fed. Cir. R. 47.5(a)?
 ‫ ܆‬Yes (file separate notice; see below) ‫ ܆‬No
  ✔
                                                         ‫ ܆‬N/A (amicus/movant)
 If yes, concurrently file a separate Notice of Related Case Information that complies
 with Fed. Cir. R. 47.5(b). Please do not duplicate information. This separate
 Notice must only be filed with the first Certificate of Interest or, subsequently, if
 information changes during the pendency of the appeal. Fed. Cir. R. 47.5(b).


 6. Organizational Victims and Bankruptcy Cases. Provide any information
 required under Fed. R. App. P. 26.1(b) (organizational victims in criminal cases)
 and 26.1(c) (bankruptcy case debtors and trustees). Fed. Cir. R. 47.4(a)(6).
 ‫܆‬
 ✔        None/Not Applicable               ‫܆‬      Additional pages attached
                       Attachment to AliveCor’s Certificate of Interest

4. Legal Representatives. List all law firms, partners, and associates that (a) appeared for the
entities in the originating court or agency or (b) are expected to appear in this court for the
entities. Do not include those who have already entered an appearance in this court. Fed. Cir. R.
47.4(a)(4).

(cont.)

Kevin Gu
Michelle Clark
James Glass
Matt Hosen
Bruce Lee
Richard Doss
Isabel Peraza
Evan Larson
Haihang Wang
Joshua Scheufler
James Darling
Scott Watson
Robin McGrath
Stephen Klapper
Nicolas Siebert
Krishna Shah
John McKee
Nicholas Caluda
Lora Green
                 CERTIFICATE OF COMPLIANCE

     I hereby certify that this motion complies with the type-volume

limitation of Federal Rule of Appellate Procedure 27(d)(2)(A). The

motion is printed in Century Schoolbook 14-point font, and it contains

522 words, excluding the items listed in Federal Rule of Appellate

Procedure 27(a)(2)(B).

                             ORRICK, HERRINGTON & SUTCLIFFE LLP

                             /s/ Melanie L. Bostwick
                             Melanie L. Bostwick
                             Counsel for Apple Inc.
Exhibit A
    NOTE: This order is nonprecedential.


United States Court of Appeals
    for the Federal Circuit
            ______________________

   THE CHAMBERLAIN GROUP, LLC,
            Appellant

                            v.

 INTERNATIONAL TRADE COMMISSION,
             Appellee

 OVERHEAD DOOR CORPORATION, GMI
         HOLDINGS, INC.,
            Intervenors

     -------------------------------------------------

 OVERHEAD DOOR CORPORATION, GMI
         HOLDINGS, INC.,
            Appellants

                            v.

 INTERNATIONAL TRADE COMMISSION,
             Appellee

   THE CHAMBERLAIN GROUP, LLC,
              Intervenor
        ______________________

             2022-1664, 2022-1656
            ______________________
2                             CHAMBERLAIN GROUP, LLC v. ITC




   Appeals from the United States International Trade
Commission in Investigation No. 337-TA-1209.
                ______________________

                      ON MOTION
                  ______________________

PER CURIAM.

                 CORRECTED ORDER *
     Upon consideration of the parties’ joint motion to clar-
ify the procedures for the oral argument in the above-cap-
tioned appeals scheduled for May 5, 2023,
    IT IS ORDERED THAT:
    Each side will receive 15 minutes of argument time.
The Chamberlain Group, LLC (“Chamberlain”) and Over-
head Door Corporation and GMI Holdings, Inc. (collec-
tively, “OHD”) may reserve a portion of their time for
rebuttal. Oral argument will be presented in the following
sequence: (1) Chamberlain; (2) OHD; (3) Commission; (4)
Chamberlain rebuttal; and (5) OHD rebuttal.


                                 FOR THE COURT

 March 28, 2023                  /s/ Peter R. Marksteiner
     Date                        Peter R. Marksteiner
                                 Clerk of Court




    *  The order has been corrected to expressly state the
ordering of argument.
Exhibit B
    NOTE: This order is nonprecedential.


United States Court of Appeals
    for the Federal Circuit
            ______________________

MAHINDRA & MAHINDRA LTD., MAHINDRA
  AUTOMOTIVE NORTH AMERICA, INC.,
             Appellants

                            v.

 INTERNATIONAL TRADE COMMISSION,
             Appellee

                   FCA US LLC,
                    Intervenor

     -------------------------------------------------

                   FCA US LLC,
                     Appellant

                            v.

 INTERNATIONAL TRADE COMMISSION,
             Appellee

MAHINDRA & MAHINDRA LTD., MAHINDRA
  AUTOMOTIVE NORTH AMERICA, INC.,
              Intervenors
        ______________________

             2020-2173, 2021-1687
            ______________________
2                          MAHINDRA & MAHINDRA LTD. v. ITC




   Appeals from the United States International Trade
Commission in Investigation No. 337-TA-1132.
                ______________________

                      ON MOTION
                  ______________________

PER CURIAM.

                        ORDER
     Upon consideration of the parties’ joint motion to clar-
ify the procedure for the oral argument in the above-cap-
tioned consolidated appeals scheduled for March 7, 2022,
    IT IS ORDERED THAT:
    The motion is granted. There will be five rounds of ar-
gument, tracking the ordering of the briefs, and Mahindra,
the Commission, and FCA will each be provided fifteen
minutes of argument time. Mahindra and FCA can choose
to allocate their time between opening argument and re-
buttal. Any amended responses to the notice of oral argu-
ment are due no later than February 18, 2022.


                                   FOR THE COURT

February 16, 2022                  /s/ Peter R. Marksteiner
      Date                         Peter R. Marksteiner
                                   Clerk of Court
Exhibit C
         NOTE: This order is nonprecedential.


  United States Court of Appeals
      for the Federal Circuit
                 ______________________

         BIO-RAD LABORATORIES, INC.,
                   Appellant

                                 v.

     INTERNATIONAL TRADE COMMISSION,
                 Appellee

                 10X GENOMICS INC.,
                      Intervenor

          -------------------------------------------------

                 10X GENOMICS INC.,
                      Appellant

                                 v.

     INTERNATIONAL TRADE COMMISSION,
                 Appellee

         BIO-RAD LABORATORIES, INC.,
                    Intervenor
              ______________________

                  2020-1475, 2020-1605
                 ______________________

   Appeals from the United States International Trade
Commission in Investigation No. 337-TA-1068.
2                          BIO-RAD LABORATORIES, INC. v. ITC




                 ______________________

                     ON MOTION
                 ______________________

PER CURIAM.

                       ORDER
    Upon consideration of the parties’ joint motion for
clarification of the procedure for the telephonic oral
argument scheduled for April 7, 2021,
    IT IS ORDERED THAT:
    The motion is granted. Each party will receive 15
minutes of argument time. Bio-Rad and 10X may reserve
a portion of their time for rebuttal. Oral argument will be
presented in the following sequence: (1) Bio-Rad, (2) 10X,
(3) the Commission, (4) Bio-Rad’s rebuttal, and (5) 10X’s
rebuttal.


                                 FOR THE COURT

March 8, 2021                    /s/ Peter R. Marksteiner
    Date                         Peter R. Marksteiner
                                 Clerk of Court
Exhibit D
       NOTE: This order is nonprecedential.


 United States Court of Appeals
     for the Federal Circuit
              ______________________

KYOCERA SENCO INDUSTRIAL TOOLS INC., FKA
      KYOCERA SENCO BRANDS INC.,
                Appellant

                              v.

   INTERNATIONAL TRADE COMMISSION,
               Appellee

KOKI HOLDINGS AMERICA LTD., FKA HITACHI
            KOKI U.S.A. LTD.,
               Intervenor

       -------------------------------------------------

KOKI HOLDINGS AMERICA LTD., FKA HITACHI
            KOKI U.S.A. LTD.,
               Appellant

                              v.

   INTERNATIONAL TRADE COMMISSION,
               Appellee

KYOCERA SENCO INDUSTRIAL TOOLS INC., FKA
      KYOCERA SENCO BRANDS INC.,
                 Intervenor
           ______________________

                2020-1046, 2020-2050
2                     KYOCERA SENCO INDUS. TOOLS INC v. ITC




                  ______________________

   Appeals from the United States International Trade
Commission in Investigation No. 337-TA-1082.
                ______________________

                      ON MOTION
                  ______________________

PER CURIAM.

                        ORDER
     Upon consideration of the parties’ joint motion to clar-
ify the procedure for oral argument calendared for Novem-
ber 1, 2021,
    IT IS ORDERED THAT:
     The motion is granted. Kyocera and Koki will each re-
ceive 15 minutes of argument time and may reserve a por-
tion of their time for rebuttal. The Commission will receive
10 minutes of argument time and may not reserve a portion
of its time for rebuttal. Oral argument will be presented in
the following sequence: (1) Kyocera, (2) Koki, (3) the Com-
mission, (4) Kyocera’s rebuttal, and (5) Koki’s rebuttal.


                                   FOR THE COURT

October 7, 2021                    /s/ Peter R. Marksteiner
    Date                           Peter R. Marksteiner
                                   Clerk of Court
